             1:18-cv-01444-SLD-JEH           #6        Filed: 01/23/19    Page 1 of 2
                                                                                                     E-FILED
                                                                   Wednesday, 23 January, 2019 07:29:05 PM
                                                                              Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

JIMMIE D. GRAY,
                                                      Case No. 1:18-cv-01444-SLD-JEH
Plaintiff,
                                                      Honorable Magistrate Judge Jonathan E.
        v.                                            Hawley
DIVERSIFIED CONSULTANTS, INC.,

Defendant.


                                     NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE JIMMIE D. GRAY (“Plaintiff”) hereby notifies the Court that

the Plaintiff and Defendant have settled all claims between them in this matter and are in the

process of completing the final closing documents and filing the dismissal. The Parties anticipate

this process to take no more than 60 days and request that the Court retain jurisdiction for any

matters related to completing and/or enforcing the settlement. The Parties propose to file a

stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.

Respectfully submitted this 23rd day of January 2019.

                                                        s/ Nathan C. Volheim
                                                        Nathan C. Volheim, #6302103
                                                        Sulaiman Law Group, Ltd.
                                                        2500 S. Highland Avenue, Suite 200
                                                        Lombard, IL 60148
                                                        (630) 575-8181
                                                        nvolheim@sulaimanlaw.com
                                                        Attorney for Plaintiff




                                                  1
               1:18-cv-01444-SLD-JEH          #6       Filed: 01/23/19    Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                               s/ Nathan C. Volheim
                                                               Nathan C. Volheim




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